Case: 2:12-cv-00937-MHW-NMK Doc #: 54 Filed: 02/10/14 Page: 1 of 13 PAGEID #: 903
Case: 2:12-cv-00937-MHW-NMK Doc #: 54 Filed: 02/10/14 Page: 2 of 13 PAGEID #: 904
Case: 2:12-cv-00937-MHW-NMK Doc #: 54 Filed: 02/10/14 Page: 3 of 13 PAGEID #: 905
Case: 2:12-cv-00937-MHW-NMK Doc #: 54 Filed: 02/10/14 Page: 4 of 13 PAGEID #: 906
Case: 2:12-cv-00937-MHW-NMK Doc #: 54 Filed: 02/10/14 Page: 5 of 13 PAGEID #: 907
Case: 2:12-cv-00937-MHW-NMK Doc #: 54 Filed: 02/10/14 Page: 6 of 13 PAGEID #: 908
Case: 2:12-cv-00937-MHW-NMK Doc #: 54 Filed: 02/10/14 Page: 7 of 13 PAGEID #: 909
Case: 2:12-cv-00937-MHW-NMK Doc #: 54 Filed: 02/10/14 Page: 8 of 13 PAGEID #: 910
Case: 2:12-cv-00937-MHW-NMK Doc #: 54 Filed: 02/10/14 Page: 9 of 13 PAGEID #: 911
Case: 2:12-cv-00937-MHW-NMK Doc #: 54 Filed: 02/10/14 Page: 10 of 13 PAGEID #: 912
Case: 2:12-cv-00937-MHW-NMK Doc #: 54 Filed: 02/10/14 Page: 11 of 13 PAGEID #: 913
Case: 2:12-cv-00937-MHW-NMK Doc #: 54 Filed: 02/10/14 Page: 12 of 13 PAGEID #: 914
Case: 2:12-cv-00937-MHW-NMK Doc #: 54 Filed: 02/10/14 Page: 13 of 13 PAGEID #: 915
